       Case 1:20-cr-00536-VEC Document 7 Filed 10/15/20 Page 1 of 3
                                                          USDC SDNY
                                                          DOCUMENT
                                                          ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT                              DOC #:
SOUTHERN DISTRICT OF NEW YORK                             DATE FILED: 10/15/2020
 ------------------------------------------------------------   X
 UNITED STATES OF AMERICA                                       :
                                                                :   20-CR-536 (VEC)
                -against-                                       :
                                                                :        ORDER
 ANTHONY LALLAVE,                                               :
                                                                :
                                          Defendant.            :
 ------------------------------------------------------------   X

VALERIE CAPRONI, United States District Judge:

        WHEREAS on October 14, 2020, Defendant Anthony Lallave was presented before a

Magistrate Judge and released on bail;

        IT IS HEREBY ORDERED THAT:

        1. An arraignment will be held on October 22, 2020 at 4:00 P.M. in Courtroom 443 of

             the Thurgood Marshall Courthouse, 40 Foley Square, New York, New York, 10007.

             Members of the public may appear for the hearing by calling (888) 363-4749, using

             the access code 3121171 and the security code 0536. All those accessing the

             conference are reminded that recording or rebroadcasting of the proceeding is

             prohibited by law.

        2. Per the SDNY COVID-19 Courthouse Entry Program, any person who appears at any

             SDNY courthouse must complete a questionnaire and have his or her temperature

             taken. Please see the instructions, attached. Completing the questionnaire ahead of

             time will save time and effort upon entry. Only those individuals who meet the entry

             requirements established by the questionnaire will be permitted entry. Please contact

             chambers promptly if you or your client (if attending the proceeding) does not meet

             the requirements.
         Case 1:20-cr-00536-VEC Document 7 Filed 10/15/20 Page 2 of 3




SO ORDERED.
                                              _________________________________
Date: October 15, 2020                         VALERIE CAPRONI
      New York, NY                            United States District Judge




                                     2 of 3
         Case 1:20-cr-00536-VEC Document 7 Filed 10/15/20 Page 3 of 3




All members of the public, including attorneys, appearing at a Southern District of New York
courthouse must complete a questionnaire and have their temperature taken before being
allowed entry into that courthouse.
On the day you are due to arrive at the courthouse, click on the following weblink, or scan the
following QR code with a mobile device camera to begin the enrollment process. Follow the
instructions and fill out the questionnaire. If your answers meet the requirements for entry, you
will be sent a QR code to be used at the SDNY entry device at the courthouse entrance.
                               https://app.certify.me/SDNYPublic




Note: If you do not have a mobile phone or mobile phone number, you must complete
the questionnaire and temperature screening at an entry device at the courthouse.




                                              3 of 3
